Case 3:05-cr-30133-DRH           Document 502 Filed 05/24/07              Page 1 of 22       Page ID
                                           #1674



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

       Plaintiff,

v.

RUDY SLACK,

       Defendant.                                      Case No. 05-cr-30133-DRH-7

                                 MEMORANDUM & ORDER

HERNDON, District Judge:

                                      I. INTRODUCTION

               Before the Court is defendant Rudy Slack’s Motion for New Trial (Doc.

456),1 filed pursuant to FEDERAL RULE OF CRIMINAL PROCEDURE 33, to which the

Government has filed its opposing Response (Doc. 462). The jury found Slack guilty

as to Counts 1, 6 and 7 of the Indictment (Docs. 424, 427 & 428). The specific

charges were as follows:

               Count 1 - conspiracy to knowingly and intentionally manufacture,
               distribute, and possess with intent to distribute cocaine and a mixture
               or substance containing cocaine base, in the form of, or commonly
               known as “crack” cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and
               841 (b)(1)(A), and 21 U.S.C. § 846.

               Count 6 - knowingly and intentionally distributing diverse amounts of
               a mixture or substance containing cocaine, in violation of 21 U.S.C. §§


       1
           The Court also notes it previously granted Slack an extension of tim e to file this Motion
(see Doc. 440).

                                           Page 1 of 22
Case 3:05-cr-30133-DRH       Document 502 Filed 05/24/07          Page 2 of 22    Page ID
                                       #1675



             841(a)(1) and 841 (b)(1)(C).

             Count 7 - knowingly and intentionally distributing a mixture or
             substance containing cocaine base, in the form of, or commonly known
             as, “crack” cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 841
             (b)(1)(B).

             Regarding the jury’s finding of “guilty” as to Count 1, the Special Verdict

did not find Slack guilty of conspiring to distribute 500 grams or more of a mixture

or substance containing cocaine base (Doc. 425). However, in a separate Special

Verdict also regarding Count 1, the jury did find Slack guilty of conspiracy to

distribute 5 grams or more, but less than 50 grams, of a mixture or substance

containing cocaine base, in the form of, or commonly known as, “crack” cocaine

(Doc. 426). There was no Special Verdict rendered by the jury regarding the charges

against Slack stated in Count 6. As to Count 7, the Special Verdict found Slack guilty

of knowingly and intentionally distributing 5 grams or more of a mixture or

substance containing cocaine base, in the form of, or commonly known as, “crack”

cocaine. Slack also filed a Motion for Judgment of Acquittal (Doc. 446) as to Count

1, which the Court has denied (Doc. 486). Slack currently awaits sentencing for his

conviction, as well as resolution of this pending post trial motion.

                               II. LEGAL STANDARD

             Under FEDERAL RULE OF CRIMINAL PROCEDURE 33, a defendant may

move for a new trial. Upon review, the Court “may vacate any judgment and grant

a new trial if the interest of justice so requires.” FED . R. CRIM . P. 33(a). If the basis

for seeking a new trial is not due to new evidence, then the Court must determine if


                                      Page 2 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07        Page 3 of 22   Page ID
                                      #1676



a new trial is warranted because there exists a “reasonable possibility that a trial

error had a prejudicial effect upon the jury’s verdict.” United States v. Van Eyl,

468 F.3d 428, 436 (7th Cir. 2006) (citing United States v. Berry, 92 F.3d 597,

600 (7th Cir. 1996)). A new trial may also be warranted where a “trial errors or

omissions have jeopardized the defendant’s substantial rights.” United States v.

Reed, 875 F.2d 107, 113 (7th Cir. 1989) (citing United States v. Kuzniar, 881

F.2d 466, 470 (7th Cir.1989)). Such a determination is completely within the

Court’s sound discretion . Id. (citing United States v. Nero, 733 F.2d 1197, 1202

(7th Cir. 1984)). However, the Court should be mindful that the power bestowed

by Rule 33 to grant a new trial should only be done in the “most ‘extreme cases.’”

United States v. Linwood, 142 F.3d 418, 422 (7th Cir.1998) (quoting United

States v. Morales, 902 F.2d 604, 605 (7th Cir.1990)).

                                 III. DISCUSSION

             Slack bases his Rule 33 Motion on the assertion that the verdicts were

against the weight of the evidence and also that the Court erred in the following ways:

(1) failing to suppress the wiretap evidence, (2) admitting testimony of DEA Special

Agent John McGarry pursuant to FEDERAL RULE OF EVIDENCE 701, (3) admitting

testimony of witness Donald Slack, (4) failing to give Slack’s proposed jury

instructions numbers 7, 8 and 9, which were cautionary instructions on witness

credibility, (5) failing to give Slack’s proposed theory of defense instruction number

12, (6) admitting testimony of witness Alan Taylor regarding alleged hearsay


                                     Page 3 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07        Page 4 of 22   Page ID
                                      #1677



statements made to him by Christy Woolsey, (7) failing to dismiss the indictment due

to alleged speedy trial act violation, and (8) admitting testimony of witness Timothy

Weddle. The Court will now address Slack’s arguments in like order.

A.    Verdicts Against the Weight of the Evidence

             As Slack also moved for a judgment of acquittal pursuant to FEDERAL

RULE OF CRIMINAL PROCEDURE 29(c) (Doc. 446) regarding Count 1 based upon

essentially the same grounds, he requests that if acquittal is denied, he alternatively

seeks a grant of a new trial. He also believes the verdicts finding him guilty as to

Counts 6 and 7 were against the manifest weight of the evidence and therefore,

warrant a new trial.

      1.     Count 1

             Count 1 was the conspiracy charge.          Slack states that the only

Government witnesses questionably implicating him for selling narcotics did not offer

enough evidence to prove that he was a member of the charged conspiracy. Further,

other Government witnesses Richard Pittman and Tamiesha Williams, co-

conspirators who had already pled guilty, testified they were unaware of Slack’s

participation in the conspiracy. In response, the Government argues that all it was

required to show was “that Slack was aware of the common purpose and was a

wiling participant [in the conspiracy]” (Doc. 462, p. 2). It was not required to show

all members of the conspiracy knew each others’ identities.          Additionally, the

Government asserts that wiretap evidence was used to reveal Slack’s participation



                                     Page 4 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07       Page 5 of 22    Page ID
                                      #1678



in the conspiracy – namely his telephone calls to his half-brother, Richard Pittman,

to warn him that the police were in the area so that Pittman could flee and the

narcotics conspiracy could continue.

             These arguments have been addressed at length in the Court’s Order

(Doc. 486) denying Slack’s Motion for Acquittal (Doc. 446). Therefore, the Court

need only analyze these arguments using a Rule 33 framework. As the Court

previously found enough evidence that a reasonable juror could find Slack guilty

beyond a reasonable doubt as to Count 1, there is no “strong doubt of guilt” as Slack

suggests. This is not grounds to warrant a new trial.

      2.     Count 6

             Slack was found guilty as to Count 6 for distribution of cocaine. There

was no specific quantity charged and no special verdict returned. Slack believes the

evidence failed to demonstrate that witness Alan Taylor was not found in possession

of cocaine when the police searched is pickup truck. Instead, Slack proffers that the

evidence shows the seized narcotics actually belonged to Taylor’s passengers, Gary

and Leslea Ontis, as Taylor testified “he did not lie in his post-arrest telephone

conversation with Defendant [Slack] when he told [him] that he got rid of the drugs

[Slack] had given him before the police searched the pickup” (Doc. 456, p. 4).

             In retort, the Government believes sufficient evidence existed to find

Slack guilty as to Count 6 – the Government states “Taylor admits purchasing the

cocaine from Slack and the cocaine was immediately recovered from Taylor’s vehicle”

(Doc. 462, p. 3). Reviewing the trial testimony in this regard, the Court does not see

                                    Page 5 of 22
Case 3:05-cr-30133-DRH       Document 502 Filed 05/24/07         Page 6 of 22    Page ID
                                       #1679



how Slack’s closing argument (as his Motion suggests) provided a “logical explanation

of events,” as it merely presented Slack’s theory of defense. Though it may be

“logical,” it is for the jury to decide whether to accept it as true. Granting a new trial

is not appropriate upon this basis.

      3.     Count 7

             Slack was found guilty as to Count 7 for distribution of 5 grams or more

of “crack” cocaine (Docs. 428 & 429). The evidence linking Slack to this sale came

from the testimony of witness Eric Spruill. A confidential informant working with

the DEA made a controlled buy of a half ounce of cocaine from Spruill on November

1, 2004. Spruill testified that Slack was his supplier. Spruill testified that he went

to Slack’s house to purchase the cocaine so that he could then sell it to the

informant. While Spruill was waiting in Slack’s residence, he observed Rudy Slack

and his brother, Donald Slack, in the kitchen “cooking up” what appeared to be a

large amount crack cocaine. As the fumes became overpowering, Spruill testified

that he had to step outside of the residence. He also testified that later, Slack popped

his head out the door and waived Spruill back inside the house, where he proceeded

to sell Spruill a half ounce of crack cocaine for $550.00.

             The Government points to additional wiretap evidence of a setup

telephone call made by Spruill to Slack for the purchse of three grams of crack

cocaine on February 19, 2005 (see Gov’t Ex. 58 and Trial Transcript: Spruill 23:3-

22). There were further telephone calls introduced into evidence which served to

demonstrate the drug relationship between Spruill and Slack (see Gov’t Exs. 60 &

                                      Page 6 of 22
Case 3:05-cr-30133-DRH           Document 502 Filed 05/24/07             Page 7 of 22       Page ID
                                           #1680



90).   Slack asserts that in contrast to the incriminating evidence, the officer

conducting surveillance on the Slack residence that night testified he never saw Rudy

Slack outside. Further, Donald Slack testified he never dealt any drugs to Spruill

and had a falling out with his brother, Rudy, and therefore did not have anything to

do with him from September through December, 2004. For these reasons, Slack

believes the guilty verdict as to Count 7 was against the weight of the evidence.

               Considering the evidence provided ample basis for the jury to find Slack

guilty as to Count 7 beyond a reasonable doubt, the Court finds no grounds to

warrant a new trial.

B.     Suppression of Electronic Surveillance Evidence

               Slack next challenges the Court’s Order authorizing the Government to

conduct electronic surveillance pursuant to 18 U.S.C. § 2518(1)(c).2 Prior to trial,

Rollins, Jr. filed a Motion to Suppress the Contents of Electronic Surveillance and

Evidence Derived Therefrom (Doc. 290), challenging whether the Order was properly

granted in accordance with the statutory requirements. A motion hearing was

conducted on January 4, 2007.3 Specifically, Slack asserted that the application and

affidavit submitted by the Government requesting a Title III telephone intercept order

was insufficient under § 2518(1)(c)’s requirement to show necessity by specifically



       2
          18 U.S.C. § 2518(1)(c) requires that the application and affidavit provide a “full and
com plete statem ent as to whether or not other investigative procedures have been tried and failed
or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.”

       3
          Sim ilar motions were also filed by co-defendants Rollins, Sr. and Rollins, Jr. Slack and
Rollins, Sr. thereafter joined Rollins, Jr. in the January 4, 2007 hearing.

                                           Page 7 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07       Page 8 of 22    Page ID
                                      #1681



demonstrating the failure or infeasibility of other previously attempted investigative

techniques. Denying the Motion to Suppress, the Court found that the application

and affidavit sufficiently met the requirements of § 2518(1)(c).

             Wiretaps are not required to be the last resort in an investigation, but

also should not be the first method used either. United States v. McLee, 436 F.3d

751, 763 (7th Cir. 2006) (citation omitted). Because the Government does not

carry a heavy burden to meet the requirements of showing necessity for a wiretap

order under § 2518(1)(c), a court order authorizing the wiretap can be issued for a

variety of reasons. Id. (citations omitted). In the affidavit submitted by United

States Drug Enforcement Agency (“DEA”) Special Agent John McGarry (lead

investigator), it listed the other methods of investigation techniques used prior to

requesting a wiretap order: use of confidential sources, consensual telephone calls,

surveillance, administrative subpoenas, telephone records and dialed number

recording (Doc. 278, p. 3). Other investigative techniques were rejected due to their

inadequacy or because they would not be feasible given the particular circumstances

of the investigation: body wires/monitoring devices, mobile tracking devices, closed

circuit television cameras, trash seizures, Grand Jury subpoenas, undercover agents,

target/associate interviews, search warrants, police records, pen register, SINS and

trap & trace (Id.).

             The Government’s reasons for seeking the wiretap were further

expounded upon through Agent McGarry’s testimony given during the suppression



                                    Page 8 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07       Page 9 of 22    Page ID
                                      #1682



hearing.   Agent McGarry demonstrated, via his affidavit and later through his

testimony, why the wiretap was necessary in order to secure evidence that the

targeted subjects (Slack and co-defendants) were engaged in illegal activity, as well

as reveal the “true scope and nature of the offenses and the unknown participants in

them” (Id. at 4). A wiretap that enables investigators “to gauge the depth and scope

of [a] conspiracy” meets the requirements under § 2518(1)(c). United States v.

Fudge, 325 F.3d 910, 919 (7th Cir. 2003).

             Slack offers nothing further in way of legal argument or evidence to

support his assertion that the Court’s ruling on his Motion to Suppress was

erroneous. The Court still finds that the wiretap application and affidavit were

carefully considered and found to have sufficiently met the statutory requirements

warranting the wiretap order. The Government adequately demonstrated how it was

reasonably unlikely that the alternate methods of investigation would work and that

the wiretap was the only practical method for the investigators to make their case

involving a number of conspirators. Further, if the wiretap Order was properly

granted in accordance with § 2518, as the Court finds it was, Slack’s privacy rights

were not improperly violated. As such, a new trial cannot be granted as the Court

does not find its prior ruling erroneous.

C.    DEA Special Agent McGarry

             Special Agent John McGarry was the lead DEA agent for the

investigation of co-defendants’ drug distribution conspiracy. Part of his duty as lead



                                    Page 9 of 22
Case 3:05-cr-30133-DRH          Document 502 Filed 05/24/07             Page 10 of 22       Page ID
                                          #1683



investigator required him to oversee all wiretapped telephone calls. During trial,

Rollins, Jr. filed a Motion in Limine to Exclude Expert Testimony of Undisclosed

Government Witness (Doc. 342).4 Rollins, Jr. sought to bar this testimony as it was

not disclosed pursuant to Slack’s Motion for Disclosure of Expert Testimony (Doc.

276).

               In particular, Slack’s argument centers around the assertion that Agent

McGarry was an “expert” witness for the Government, in that he testified as to what

he believed “was occurring in the [wiretapped] conversation, including his beliefs as

to which specific drugs, amounts and prices were being discussed in each

conversation” (Doc. 450, p. 5).            In other words, this “specialized” knowledge

regarding code words for certain narcotics constituted expert testimony under

FEDERAL RULE OF EVIDENCE 702. On the other hand, the Government asserted Agent

McGarry’s testimony was actually lay witness testimony under FEDERAL RULE OF

EVIDENCE 701, as he merely provided his “impressions” of what he had personally

observed from the wiretapped conversations. Therefore, because the Government

never offered Agent McGarry as an expert witness, it does not believe there was any

lack of compliance with the disclosure requirements of FEDERAL RULE OF CRIMINAL

PROCEDURE 16.

               Under Rule 701, lay opinion testimony must be limited to the



        4
         Co-defendant Talia Pittm an also filed a sim ilar Motion (Doc. 358). At trial, both Motions
were argued sim ultaneously, with the rem aining co-defendants, including Slack, joining in the
Motions.

                                          Page 10 of 22
Case 3:05-cr-30133-DRH     Document 502 Filed 05/24/07       Page 11 of 22    Page ID
                                     #1684



observations of the witness “that are ‘not based on scientific, technical, or other

specialized knowledge within the scope of Rule 702.’” United States v. Conn, 297

F.3d 548, 553 (7th Cir. 2002)(quoting FED . R. EVID . 701). The court must closely

scrutinize lay witness testimony to ensure it does not encroach upon the realm of

expert testimony, especially if that witness has not previously been identified as an

expert witness. Id. In Conn, the Seventh Circuit found the testimony of an ATF

agent went beyond that of a lay witness because “[h]e was asked to draw upon his

accumulated knowledge and to provide information to the jury about the appropriate

characterization of Mr. Conn’s firearms . . . .” Id. at 554-55. However, the Seventh

Circuit acknowledged it was possible for an agent to testify as a lay witness if based

only upon his personal participation in the investigation of the conspiracy. Id. at

555 n.3 (citing United States v. Miranda, 248 F.3d 434, 441 (5th Cir. 2001)).



             This Fifth Circuit case cited in Conn, although not binding precedent,

is nevertheless insightful and on point with the issues raised by the Motions in

Limine. In Miranda, the FBI Special Agent involved with the investigation of the

conspiracy gave testimony regarding the meaning behind various code words used

by the various callers to describe certain narcotics. Miranda, 248 F.3d at 441.

Defense counsel challenged the Agent’s testimony, arguing it was actually Rule 702

expert testimony and the Agent was unqualified to testify as an expert.           The

Government argued the Agent’s testimony was being offered as Rule 701 lay witness


                                   Page 11 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07        Page 12 of 22    Page ID
                                      #1685



testimony. The Fifth Circuit agreed with the Government, stating as follows:

             [The Agent’s] extensive participation in the investigation of this
             conspiracy, including surveillance, undercover purchases of
             drugs, debriefings of cooperating witnesses familiar with the drug
             negotiations of the defendants, and the monitoring and
             translating of intercepted telephone conversations, allowed him
             to form opinions concerning the meaning of certain code words
             used in this drug ring based on his personal perceptions. We
             therefore hold that [the Agent’s] testimony was admissible
             pursuant to Rule 701 and that the district court did not abuse its
             discretion in admitting his testimony.

Id.

             During trial, the Court applied the same reasoning as the Fifth Circuit.

The Court limited Agent McGarry’s testimony to his personal perceptions and

information acquired solely from his extensive participation in the investigation of the

conspiracy. Allowing this testimony under Rule 701 was permissible because the

Court observed no consistency between related criminal drug conspiracy cases in

regards to the narcotics code words used among the co-conspirators. Instead, the

code words seem individualized for each particular conspiracy, seemingly, at times,

the co-conspirators come up with code terms “on the fly.” Therefore, there is no

universal narcotics “code language” that one may study and become familiarized with

based upon training and experience. Thus, the Court denied the Motion because

“each group of conspirators is different and there’s no way to really apply your

training and your experience to figure out what each group’s terminology means. It’s




                                    Page 12 of 22
Case 3:05-cr-30133-DRH          Document 502 Filed 05/24/07             Page 13 of 22      Page ID
                                          #1686



just guesswork each and every time . . .” (Trial Transcript, January 26, 2007).5

               Although Slack argues that McGarry’s impressions were not “rationally

based on the perception of the witness,” as required by Rule 701 (Doc. 456, p. 6),

Slack fails to demonstrate how the Court’s decision to allow Agent McGarry to testify

as a lay witness was erroneous. In this case, the Court found there was no “universal

code” with which one could study or become proficient in over time. The Court also

limited the testimony to Agent McGarry’s own perceptions with the investigation

regarding the conspiracy at issue in this case only. As the Government states,

“[Agent] McGarry . . . was involved in the telephone intercepts from the very

beginning and became thoroughly familiar with the individual participants in those

conversation[s]” (Doc. 462, p. 4). Slack argues that Agent McGarry’s testimony,

which he argues was based also upon inadmissible hearsay, did not help the jury, but

rather “usurped the jury’s function” in drawing their own inferences (Doc. 456, p. 7).

This issue was thoroughly argued at trial and the Court, in its discretion, deemed

that this was admissible lay witness testimony. Furthermore, the jury was advised

at the time of the testimony that even if the jurors believed the agent’s testimony

regarding the meaning of the language used in the tapes, they would each still have

to decide for themselves the meaning of the words used by the people speaking on

the tapes. Thus, the Court remains unconvinced that Agent McGarry’s testimony

caused Slack unfair prejudice. Slack’s argument, therefore, is not well-taken.

       5
          The Court notes that there are no page numbers as a transcript for this portion of the
trial was never ordered and therefore, the quote is taken from a rough draft of the real time
electronic transcript.

                                          Page 13 of 22
Case 3:05-cr-30133-DRH     Document 502 Filed 05/24/07        Page 14 of 22    Page ID
                                     #1687



             Additionally, because the Court does not find Agent McGarry’s testimony

constituted Rule 702 expert testimony, it also finds the Government did not fail to

properly disclose under Rule 16. Even had this testimony been inadmissible, the

Court does not find it would have prejudiced the jury’s verdict as there was other

witness testimony provided to decipher the code language, amounts and pricing of

the narcotics, from which the jury could have derived its finding of guilt.

D.    Testimony of Donald Slack

             Donald Slack, Rudy Slack’s half-brother (both having the same father),

testified as a Government witness. Slack made a motion during trial to strike Donald

Slack’s testimony regarding anything from September through December 2004, as

Slack asserts Donald Slack’s testimony revealed he was “not involved with any drug-

dealing with [Slack] in September, October, November and December 2004" (Doc.

456, p. 9). The Court denied the Motion, finding some of the testimony referred to

dates that did, in fact, match up with the charged conspiracy and therefore, could

serve to link Slack as a co-conspirator. Therefore, the Court allowed Donald Slack

to testify to the extent the evidence could tie into some aspect of the charged

conspiracy, as it ultimately remained an issue of fact for the jury to decide. However,

Slack maintains that the evidence showed Slack was instead, a member of a

separate conspiracy and not the conspiracy at issue in this criminal case. Thus,

Slack believes that evidence regarding this “other conspiracy,” provided via Donald

Slack’s testimony, should not be admissible, because it was not evidence



                                    Page 14 of 22
Case 3:05-cr-30133-DRH     Document 502 Filed 05/24/07        Page 15 of 22    Page ID
                                     #1688



“inextricably intertwined” with the conspiracy tried in this case.

             In response, the Government points to testimony given by Donald Slack

regarding multiple drug transactions with Rudy Slack, within ten days of the dates

of the charged conspiracy (from September, 2003 to August, 2005). Both Donald

Slack and Rudy Slack were seen by witness Eric Spruill, in Slack’s residence,

cooking powder cocaine into “crack” cocaine. The testimony of Alan Taylor and Eric

Spruill served to provide evidence for the jury to find Slack guilty as to Counts 6 and

7. The testimony provided by Donald Slack bolstered this evidence, and as stated

by the Government, served to “provide[] the jury with sufficient background for the

complete . . . story for the jury, explaining how the two Slack brothers knew each

other’s drug business, worked together, and eventually ended up together in Rudy

Slack’s kitchen cooking powder into crack as testified by Eric Spruill” (Doc. 462, p.

7). This was enough for the Court, in its discretion, to allow the testimony. The fact

that Slack believes Donald Slack’s testimony may have provided information

regarding a “separate” conspiracy or a time frame when the two were allegedly not

on speaking terms is an issue of fact for the jury to decide. These assertions, when

coupled with testimony showing otherwise, will not serve as grounds to exclude the

testimony or warrant a new trial.

E.    Jury Instructions Regarding Witness Credibility

             Slack asserts the Court erroneously denied his proposed jury




                                    Page 15 of 22
Case 3:05-cr-30133-DRH            Document 502 Filed 05/24/07                Page 16 of 22         Page ID
                                            #1689



instructions numbers 7, 8 and 9,6 which cautioned the jury regarding the credibility


      6
           Slack’s proposed instruction number 7 read:
               You have heard witnesses who testified that they were actually involved in planning
          and carrying out the crim es charged in the indictm ent. The law allows the use of
          accomplice testim ony. Indeed, it is the law in federal courts that the testim ony of
          accomplices m ay be enough in itself for conviction, if the jury finds that the testim ony
          established guilt beyond a reasonable doubt.
               However, it is also the case that accomplice testim ony is of such nature that it must
          be scrutinized with great care and viewed with particular caution when you decide how
          m uch of that testim ony to believe.
               I have given you som e general considerations on credibility and I will not repeat them
          all here. Nor will I repeat all of the arguments made on both sides. However, let me say
          a few things that you may want to consider during your deliberations on the subject of
          accomplices.
               You should ask yourselves whether these so-called accom plices would benefit m ore
          by lying, or by telling the truth. Was their testim ony m ade up in any way because they
          believed or hoped that they would som ehow receive favorable treatm ent by testifying
          falsely? Or did they believe that their interests would be best served by testifying
          truthfully? If you believe that the witness was m otivate by hopes of personal gain, was the
          m otivation one which would cause him to lie, or was it one which would cause him to tell
          the truth? Did this m otivation color his testim ony?
               In sum, you should look at all of the evidence in deciding what credence and what
          weight, if any, you will want to give to the accomplice witnesses.



        Slack’s proposed instruction number 8 read:
            There has been evidence introduced at the trial that the governm ent called as a
      witness a person who was using or addicted to drugs when the events he/she observed took
      place [or who is now using drugs]. I instruct you that there is nothing im proper about
      calling such a witness to testify about events within his/her personal knowledge.
            On the other hand, his/her testim ony m ust be exam ined with greater scrutiny than the
      testim ony of any other witness. The testim ony of a witness who was using drugs at the
      tim e of the events he/she is testifying about, or who is using drugs [or an addict] at the tim e
      of his testim ony may be less believable because of the effect the drugs may have on his
      ability to perceive or relate the events in question.
            If you decide to accept his/her testim ony, after considering it in light of all the evidence
      in the case, then you may give it whatever weight, if any, you find it deserves.

        Slack’s proposed Instruction number 9 read:
           In this case, there has been testim ony from a government witness who pled guilty after
      entering into an agreem ent with the governm ent to testify. There is evidence that the
      governm ent promised to bring the witness’s cooperation to the attention of the sentencing
      court.
           The governm ent is perm itted to enter into this kind of plea agreem ent. You, in turn,
      m ay accept the testim ony of such a witness and convict a defendant on the basis of this
      testimony alone, if it convinces you of the defendant’s guilt beyond a reasonable doubt.
           However, you should bear in mind that a witness who has entered into such an
      agreem ent has an interest in this case different from any ordinary witness. A witness who
      realizes that he/she m ay be able to obtain his/her freedom , or receive a lighter sentence by

                                            Page 16 of 22
Case 3:05-cr-30133-DRH             Document 502 Filed 05/24/07                Page 17 of 22        Page ID
                                             #1690



of certain witnesses, such as co-conspirators who had pled guilty and drug addicts,

requiring the jury give these witnesses greater scrutiny. Rather than giving Slack’s

proposed instructions, the Court relied on Instruction numbers 4 and 8. Instruction

number 4 was the Seventh Circuit pattern instruction 1.03, dealing with assessing

witness credibility.7          Instruction number 8 was the Seventh Circuit pattern

instruction 3.13, which provided the jury view with caution any testimony from a

witness who had been given immunity or other benefits by the Government or who

had been involved in the same charged crime.8


      giving testim ony favorable to the prosecution, has a m otive to testify falsely. Therefore, you
      m ust exam ine his/her testim ony with caution and weigh it with great care. If, after
      scrutinizing his testimony, you decide to accept it, you m ay give it whatever weight, if any
      you find it deserves.


      7
           Instruction No. 4, 7th Cir. Pattern Jury Instruction 3.13 read:
           You are to decide whether the testim ony of each of the witnesses is truthful and accurate,
          in part, in whole, or not at all, as well as what weight, if any, you give to the testim ony of
          each witness.
            In evaluating the testim ony of any witness, you may consider, among other things:
                   - the witnesses’s intelligence;
                   - the ability and opportunity the witness had to see, hear, or know the things
                      that the witness testified about;
                   - the witness’s m emory;
                   - any interest, bias, or prejudice the witness may have;
                   - the manner of the witness while testifying and
                   - the reasonableness of the witness’s testim ony in light of all the evidence in the
                     case.


      8
           Instruction No. 8, 7th Cir. Pattern Jury Instruction 3.13 read:
           You have heard testim ony from witnesses who:
                   (a) received im m unity; that is, a promise from the governm ent that any testim ony
           or other information he/she provided would not be used against him /her in a crim inal case.
                   (b) received benefits from the governm ent in connection with this case, nam ely:
                       (i) an agreem ent not to prosecute; and/or
                       (ii) the promise that the governm ent would consider the witness’s cooperation
                            and testim ony in determ ining whether or not to file a m otion on the witness’s
                            behalf to reduce his/her sentence.
                   (c) stated that he/she was involved in the comm ission of the offense as charged

                                              Page 17 of 22
Case 3:05-cr-30133-DRH           Document 502 Filed 05/24/07              Page 18 of 22        Page ID
                                           #1691



                The Court found that the Instructions 4 and 8 adequately admonished

the jury regarding witness credibility and chose to give the pattern Seventh Circuit

instruction Slack’s proposed instructions, which were not pattern Seven Circuit

instructions. It is within the trial court’s discretion to decline a “special caution”

instruction and opt to use the standard pattern instruction on witness credibility.

See United States v. Jordan, 223 F.3d 676, 692 (7th Cir. 2000). Slack does not

further demonstrate how refusing to use his proposed instructions “seriously

affect[ed] the fairness of the judicial proceedings” or his substantial rights. United

States v. Van Waeyenberghe, 481 F.3d 951 (7th Cir. 2007)(quoting United

States v. Tolliver, 454 F.3d 660, 664 (7th Cir. 2006)(internal quotes and

citation omitted)). As such, he is not entitled a new trial regarding this argument.

F.    Jury Instructions on Slack’s Theory of Defense

                In addition to his proposed instructions 7, 8 and 9, Slack also asserts

that he was denied a fair trial when the Court refused to give his proposed

instruction number 12, which described his theory of defense.9 Essentially, Slack’s


                  against the defendant.
                  (d) has pleaded guilty to an offense arising out of the same occurrence for which the
                  defendant is now on trial. His/ her guilty plea is not to be considered as evidence
                  against the defendant.
          You may give his/her testim ony such weight as you feel it deserves, keeping in mind that it
          m ust be considered with caution and great care.

      9
          Slack’s proposed instruction number 12 read (em phasis added):
              Defendant Rudy Slack (a.k.a. Enoch Sm ith) has pleaded “Not Guilty” to the charges
          contained in the indictm ent. These pleas of not guilty put in issue each of the essential
          elem ents of the offenses as described in these instructions and im pose on the
          governm ent the burden of establishing each of these elem ents by proof beyond
          reasonable doubt.
              Defendant Rudy Slack, moreover, contends he is not guilty of the offenses

                                           Page 18 of 22
Case 3:05-cr-30133-DRH         Document 502 Filed 05/24/07              Page 19 of 22        Page ID
                                         #1692



theory of defense was that his use and distribution of marijuana had been mistaken

by the Government for his participation in the charged conspiracy, which instead

involved cocaine and “crack” cocaine. Failing to present this theory of defense in the

form of a jury instruction, Slack argues, violated his right to a fair trial by allowing

jurors to convict him without requiring the Government to prove beyond a

reasonable doubt that Slack had distributed cocaine and “crack” cocaine (Doc. 456,

p. 13, citing United States v. Paters, 16 F.3d 188, 190 (7th Cir. 1994) and

United States v. Chavin, 316 F.3d 666, 670 (7th Cir. 2002)). Contrary to Slack’s

assertion, the Government contends the evidence presented during trial clearly

showed Slack was involved with trafficking cocaine and thus, his theory of defense

is not supported by the evidence.

              The Seventh Circuit provides:

              An instruction on a defendant's theory of defense may only be
              given to the jury if the defendant proposes a correct statement of
              the law; the defendant's theory is supported by the evidence; the
              defendant's theory of defense is not part of the charge; and the
              failure to include an instruction on the defendant's theory of
              defense in the jury charge would deny the defendant a fair trial.

Al-Shahin, 474 F.3d at 947 (citing United States v. Briscoe, 896 F.2d 1476,
1512 (7h Cir. 1990)).

The Court finds ample evidence existed to support a finding that Slack’s proposed



        charged because he was only involved with possessing, using, and distributing
        m arijuana. In order to find Defendant Rudy Slack guilty of any offense in these jury
        instructions, you m ust find beyond a reasonable doubt that he comm itted that offense
        with the controlled substance or substances nam ed in the instruction for that offense
        (cocaine and cocaine base in Instruction No. ____, cocaine base in Instruction No. ______,
        and cocaine in Instruction No. ______ ).

                                         Page 19 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07       Page 20 of 22    Page ID
                                      #1693



instruction number 12 was inaccurate based upon evidence indicating Slack had also

dealt with cocaine and “crack” cocaine. Accordingly, the Court cannot grant a new

trial in this regard.

G.     Testimony of Alan Taylor

              Alan Taylor testified as a witness for the Government; Slack specifically

objects to his testimony regarding statements made by Christy Woolsey as being

inadmissible hearsay. Taylor testified that Woolsey had purchased “crack” from

Slack – that he was her dealer. Slack also objects because he believes this testimony

improperly allowed evidence regarding Slack’s sales of “crack.” In other words,

Taylor never testified to buying “crack” from him, so without the hearsay statements,

there would be no evidence presented of “crack” sales. The Government argues that

it was not offering this testimony for proving the truth of the matter asserted (that

Woolsey got crack from Slack) but offered it to show how Taylor knew Slack.

Taylor’s testimony further explained that because he knew Woolsey dealt with Slack,

he began to work for Slack and purchased cocaine from him as well.

              The Court agrees with the Government that the overall purpose of

Talyor’s testimony was to show how his relationship with Slack evolved. Aside from

this fact, Slack does not show how this caused him substantial prejudice. The Court

finds this argument for a new trial insufficient.

H.     Speedy Trial Act

              Slack believes the Court erred when it denied his pretrial Motion to

Dismiss Indictment Because of Violations of the Speedy Trial Act (Doc. 289). The

                                    Page 20 of 22
Case 3:05-cr-30133-DRH     Document 502 Filed 05/24/07        Page 21 of 22     Page ID
                                     #1694



Court denied this Motion (Doc. 312), finding the “ends of justice” findings for prior

continuances of trial were sufficient under the Speedy Trial Act and Seventh Circuit

law so that excludable time had not yet run under the Act. In his Rule 33 Motion,

Slack merely revisits the same arguments addressed and denied in his pretrial

motion. Therefore, the Court adheres to its original ruling and finds no grounds

warranting a new trial.

I.    Testimony of Timothy Weddle

      Lastly, Slack asserts that the Court erred in failing to exclude the testimony of

Timothy Weddle. This argument stems from the Government’s late disclosure of

Weddle’s proffer to government agents. Although the Court did not favor the late

disclosure, even inadvertent late disclosure, it found:

             18 U.S.C. § 3500(a) does not require the Government to provide
             for a statement or report from one of its witnesses until after said
             witness has testified at trial. While it is within the discretion of
             the Court to order disclosure prior to trial, it is not a
             requirement. Further, Rule 16 of the Federal Rules of Criminal
             Procedure does not provide for this type of disclosure.
             Therefore, [Rollins, Jr.’s] argument that he is entitled to such
             information regarding Weddle is not well-taken . . . the rule and
             the statute do not require disclosure until after testimony and
             this Court will not require more than what is required by rule
             and law.

(Doc. 335 - Court’s January 19, 2007 Order denying Motion to Continue by
defendant Rollins, Jr.).

             Thus, the Court allowed Weddle’s testimony. This holding aligns with

Seventh Circuit law that exculpatory information must be disclosed by the

Government, but disclosure can properly be made during trial without amounting


                                    Page 21 of 22
Case 3:05-cr-30133-DRH      Document 502 Filed 05/24/07        Page 22 of 22    Page ID
                                      #1695



to a Brady violation, “as long as the defendant is not prevented from having a fair

trial.” See, e.g., Kompare v. Stein, 801 F.2d 883, 890 (7th Cir. 1986)(citing

United States v. Allain, 671 F.2d 248, 255 (7th Cir.1982)).

             Slack also argues that because Weddle testified regarding the fact that

he was confined in Alton City Jail, along with Slack, this wrongly allowed the jury to

infer “that Weddle was an associate of [Slack’s] in illegal drug dealing before they

were in jail” (Doc. 456, p. 15). As such, Slack believes allowing this type of testimony

denied him a fair trial.    However, Slack fails to cite to the trial transcript to

specifically show Weddle’s testimony regarding his association with Slack at the Alton

City Jail. Thus, there is nothing to support his assertion of improper jury inference

or demonstrate how this substantially affected the outcome of the trial. Again, this

does not adequately present grounds warranting a new trial.

                                 IV. CONCLUSION

             In sum, the Court finds Slack’s Motion for New Trial (Doc. 456) fails to

present adequate legal grounds to warrant the relief sought under Rule 33.

Accordingly, said Motion is DENIED.

             IT IS SO ORDERED.

             Signed this 24th day of May, 2007.

                                                        /s/     David RHerndon
                                                        United States District Judge




                                    Page 22 of 22
